     Case: 20-3448                  Document: 00713769724            Filed: 02/23/2021           Pages: 2   (1 of 4)



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                   Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                         Phone: (312) 435-5850
             Chicago, Illinois 60604                                               www.ca7.uscourts.gov




                                                       ORDER
 February 1, 2021
                                                        Before
                                      MICHAEL S. KANNE, Circuit Judge

                                      DAVID F. HAMILTON, Circuit Judge

                                      MICHAEL Y. SCUDDER, Circuit Judge

                                         WILLIAM FEEHAN,
                                         Plaintiff - Appellant
 No. 20-3448                             v.
                                         WISCONSIN ELECTIONS COMMISSION, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:20-cv-01771-PP
 Eastern District of Wisconsin
 District Judge Pamela Pepper


           The following is before the court:

           1.         JOINT MOTION OF APPELLEES TO DISMISS APPEAL IS MOOT,
                      filed on January 25 2021, by counsel for the appellees.

           2.         NOTICE OF APPELLANT’S CONCURRENCE WITH JOINT MOTION
                      OF APPELLEES TO DISMISS APPEAL, filed on January 26, 2021, by
                      counsel for the appellant.

      Appellees have moved to dismiss this appeal as moot and appellant has filed a
concurrence. We agree with the litigants that there is no ongoing case or controversy.
Accordingly,
                                                                            - over -



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No. 20-3448                                                       Page 1




        IT IS ORDERED that the motion to dismiss is GRANTED to the extent that we
VACATE the district court’s decision and REMAND with instructions to dismiss the
case as moot. This is the routine disposition of civil cases that become moot while on
appeal, see United State v. Munsingwear, 340 U.S. 36 (1950), and this court’s instructions
reflect no criticism of the district court’s timely decision on the merits.




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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                       Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                             Phone: (312) 435-5850
             Chicago, Illinois 60604                                                   www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 February 23, 2021


To:            Gina M. Colletti
               UNITED STATES DISTRICT COURT
               Eastern District of Wisconsin
               Milwaukee , WI 53202-0000



                                         WILLIAM FEEHAN,
                                         Plaintiff - Appellant

 No. 20-3448                             v.

                                         WISCONSIN ELECTIONS COMMISSION, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:20-cv-01771-PP
 Eastern District of Wisconsin
 District Judge Pamela Pepper
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                       No record to be returned




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period




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    Case: 20-3448         Document: 00713769725                  Filed: 02/23/2021   Pages: 2   (4 of 4)



will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

                           -----------------------------------




 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                               Received by:

       2/21/2021                                         /s/ Lisa M. Forseth
 _________________________                           ____________________________________




 form name: c7_Mandate(form ID: 135)




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